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               8                      UNITED STATES DISTRICT COURT
               9                     CENTRAL DISTRICT OF CALIFORNIA
               10                            WESTERN DIVISION
               11
               12   SOON SKIN CARE, INC., a            Case No. 2:20-cv-06264-DSF-MAA
                    California Corporation,
               13                                      ORDER DISMISSING CASE WITH
                               Plaintiff,              PREJUDICE
               14
                          v.
               15
                    MARISSA BROWN, an individual,
               16
                                Defendant.
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               28   ///                                                  ORDER DISMISSING CASE
A RENT F OX                                                               2:20-CV-06264-DSF-MAA
ATTORNEYS AT
  LOS ANGEL
Case 2:20-cv-06264-DSF-MAA Document 37 Filed 01/11/21 Page 2 of 2 Page ID #:116
